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     SO. CAL. EQUAL ACCESS GROUP
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     DENNIS COOPER
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     DENNIS COOPER,                                    Case No.: 5:24-cv-00434 JGB (DTBx)
11
12                Plaintiff,                           NOTICE OF VOLUNTARY
           vs.                                         DISMISSAL OF ENTIRE ACTION
13                                                     WITH PREJUDICE
14
     GRAND LIQUOR & MARKET, INC.;
15   GRAND LIQUOR PROPERTY LLC; and
16   DOES 1 to 10,
                  Defendants.
17
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19
           PLEASE TAKE NOTICE that Plaintiff DENNIS COOPER (“Plaintiff”) pursuant
20
     to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
21
     action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
22
     provides in relevant part:
23
           (a) Voluntary Dismissal.
24
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25
                         and any applicable federal statute, the plaintiff may dismiss an action
26
                         without a court order by filing:
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28


                                                   1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
     Case 5:24-cv-00434-JGB-DTB     Document 15       Filed 06/24/24   Page 2 of 2 Page ID
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 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: June 24, 2024                  SO. CAL. EQUAL ACCESS GROUP
 8
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10                                         By:      /s/ Jason J. Kim
                                                  Jason J. Kim, Esq.
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                                                  Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
